Case 1:17-cv-01435-RPM Document 16 Filed 06/28/17 USDC Colorado Page 1 of 2




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO
                          Senior District Judge Richard P. Matsch

Civil Action No. 17-cv-01435-RPM

IBEX, LLC, and
PETER VANDERBROUK,

       Plaintiffs,
vs.

RIGHT AT HOME, LLC,
BRIAN PETRANICK,
MARGARET HAYNES,
SUSIE DUNN,
TOTAL HEALTHCARE STAFFING, INC,
MARK TERRY,
IT’S ALL GOOD INVESTMENTS LLC d/b/a GOOD WEED,
IT’S ALL GOOD ENTERPRISES LLC d/b/a GOOD WEED,
601 E. LAS VEGAS LLC,
319 S. PROSPECT, LLC,
819 E. CUCHARRAS, LLC,
MENTOR BUSINESS CONSULTING, LLC, and
RIGHT INVESTMENTS, LLC,

     Defendants.
_____________________________________________________________________

                          ORDER FOR REMAND
_____________________________________________________________________

       After this civil action was removed by the defendants named in the complaint

filed in the District Court, El Paso County, Colorado, the plaintiffs filed an amended

complaint in this court on June 20, 2017 (Doc. 12) adding additional parties who are

Colorado citizens, destroying diversity of citizenship. The plaintiffs filed a motion to

remand (Doc. 13). The amended complaint is filed as a matter of right under both

Colorado and Federal Rule 15. The added defendants are alleged to be directly

involved in the facts giving rise to the claims for relief. It is
Case 1:17-cv-01435-RPM Document 16 Filed 06/28/17 USDC Colorado Page 2 of 2




      ORDERED that this case is remanded to the District Court, El Paso County,

Colorado.

      DATED: June 28, 2017

                                BY THE COURT:

                                s/Richard P. Matsch

                                ________________________________
                                Richard P. Matsch, Senior District Judge
